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 1   BRUCE LOCKE (#177787)
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     Sacramento, CA 95825
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 4   Attorneys for
     PAUL YEARBY
 5
 6                            IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                 No. CR. S-10-0178 MCE
                                         )
 9                     Plaintiff,        )
                                         )                 STIPULATION TO CONTINUE STATUS
10                                       )                 CONFERENCE AND EXCLUDE TIME
           v.                            )                 UNDER SPEEDY TRIAL ACT
11                                       )
     PAUL YEARBY, et al.,                )
12                                       )
                       Defendants.       )
13   ____________________________________)
14           IT IS HEREBY STIPULATED AND AGREED between the defendants, Paul Yearby, by
15   and through his defense counsel, Bruce Locke, and the United States of America, by and through
16   its counsel, Assistant U.S. Attorney Russell Carlberg, that the status conference presently set for
17   April 26, 2012 at 9:00 a.m., should be continued to May 10, 2012 at 9:00 a.m., for a change of plea
18   and that time under the Speedy Trial Act should be excluded from April 26, 2012 through May 10,
19   2012.
20           The reason for the continuance is that the parties have engaged in discussions to resolve the
21   case without a trial and Mr. Yearby will be changing his plea at the May 10, 2012 hearing.
22   Accordingly, the time between April 26, 2012 and May 10, 2012 should be excluded from the
23   Speedy Trial calculation pursuant to Title 18, United States Code, Section 3161(h)(7)(B)(ii) and (iv)
24   and Local Codes T-2 for complexity and T-4 for defense preparation. The parties stipulate that the
25   ends of justice served by granting this continuance outweigh the best interests of the public and the
26   defendant in a speedy trial. 18 U.S.C. §3161(h)(7)(A). Mr. Carlberg has authorized Mr. Locke to
27   sign this pleading for him.
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29                                                    1
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 1
 2   DATED: April 24, 2012                    /S/ Bruce Locke
                                        BRUCE LOCKE
 3                                      Attorney for Paul Yearby
 4   DATED: April 24, 2012                 /S/ Bruce Locke
                                        For RUSSELL CARLBERG
 5                                      Attorney for the United States
 6
 7         IT IS SO ORDERED.
 8
      Dated: April 26, 2012
 9
                                        ________________________________
10                                      MORRISON C. ENGLAND, JR.
11                                      UNITED STATES DISTRICT JUDGE

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